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                                              UNITED STATES DISTRICT COURT
                                          FOR THE EASTERN DISTRICT OF MICHIGAN
                                                   NORTHERN DIVISION

                             RITA R. JOHNSON,
                                  Plaintiff,                                   Case No.: 17-cv-13174
                                                                            Honorable Thomas L. Ludington
                                  v.
                                                                                      MOTION
                             CITY OF SAGINAW,
                             JASON CABELLO, and
                             JOHN STEMPLE,
                                  Defendants
                                                                   /
OUTSIDE LEGAL COUNSEL PLC




                             OUTSIDE LEGAL COUNSEL PLC                     GREGORY W. MAIR (P67465)
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                                  PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

                                  NOW COMES Plaintiff RITA R. JOHNSON, by and through counsel,

                             and moves for summary judgment, excepting the issue of damages and

                             applicable remedies, pursuant FRCP 56.

                                  Plaintiff, by counsel, sought concurrence with the relief sought by this

                             motion and, after consultation with opposing counsel, that concurrence was

                             not provided. E.D. Mich. LR 7.1(a).




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                             Date: November 21, 2017               RESPECTFULLY SUBMITTED:

                                                                   /s/ Philip L. Ellison
                                                                   OUTSIDE LEGAL COUNSEL PLC
                                                                   BY PHILIP L. ELLISON (P74117)
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                                              UNITED STATES DISTRICT COURT
                                          FOR THE EASTERN DISTRICT OF MICHIGAN
                                                   NORTHERN DIVISION

                             RITA R. JOHNSON,
                                  Plaintiff,                              Case No.: 17-cv-13174
                                                                       Honorable Thomas L. Ludington
                                  v.
                                                                                    BRIEF
                             CITY OF SAGINAW,
                             JASON CABELLO, and
                             JOHN STEMPLE,
                                  Defendants
                                                                  /
OUTSIDE LEGAL COUNSEL PLC




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                                             PLAINTIFF’S BRIEF IN SUPPORT OF
                                         MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                                       ISSUES PRESENTED

                                                                  I.
                                   Except as to the issue of damages and applicable remedies, is
                                      Plaintiff Rita R. Johnson entitled to summary judgment?

                                                               Answer:
                                                                Yes.
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                                                MOST CONTROLLING AUTHORITY

                                                            FRCP 56
                                       Memphis Light, Gas & Water Div. v. Craft, 436 U.S. 1 (1978)
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                                                            INTRODUCTION

                                   On its own and without forewarning or an opportunity to heard, the City

                             of Saginaw, by its employees/officials, simply shut off Plaintiff Rita R.

                             Johnson’s potable water. Chief Inspector John C. Stemple made the

                             decision and called Joe Gough, water department foreman, to make that

                             happen. He dispatched Jason Cabello, the water department field

                             technician. Cabello used his “t-stick” and ended delivery of portable water
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                             delivery services to Johnson’s building. Our highest courts, nearly forty years

                             ago, recognized that utility water services “is a necessity of modern life.”
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                             Memphis Light, Gas and Water Division v. Craft, 436 U.S. 1, 18 (1978). It

                             further confirmed that the discontinuance of water “for even short periods of

                             time may threaten health and safety,” and held there is a constitutionally

                             protected right to continued utility service.

                                   Defendants were and have been simply indifferent to this federal right.

                             They failed to provide any notice or hearing (pre- or post-) before cutting off

                             potable water delivery to Johnson’s buildings and many others. And this is

                             the City’s regular “policy and practice” to simply turn off the property owner’s

                             water without notice. The turning off of water services is arbitrary and

                             capricious government action designed to inflict harm, hold property owners

                             hostage, and was done with callous indifference to the federally protected


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                             due process rights. Because there is no material question of fact as to these

                             issues, summary judgment is warranted.

                                                                FACTS

                                  Plaintiff Rita R. Johnson, an African-American business owner and an

                             honorably discharged and retired veteran, owns a building at 110 North

                             Washington in downtown Saginaw, Michigan and is the owner of Rita’s

                             Southern Soul Café in Saginaw. Exhibit A; Exhibit K, ¶¶3, 5, 8, 9. As the
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                             building owner, she is a citizen-customer of the City’s municipal water
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                             delivery services. She was and has been fully current on all charges and fees

                             for water delivery, i.e. there was and is no past due amounts owed. Exhibit

                             K, ¶11.

                                  Rita’s Southern Soul Café provides event facilities as a rental and also

                             provides food and non-alcoholic drink in a restaurant-based business. Id.,

                             ¶6. The Cafe serves as a venue for birthday parties, fashion shows,

                             blues/jazz events, charitable events, holiday gatherings, dance classes,

                             literacy workshops, black history workshops, church events, and had (until

                             the business suspension) a restaurant staff. Id., ¶7.

                                  Johnson had rented her building to a customer, Mr. Andrick Pruitt, for

                             a birthday party starting at 9:00p.m. on May 5, 2017 through 2:00a.m. May

                             6, 2017. Exhibit N. The birthday party was a non-alcohol event. Johnson


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                             Dep, ECF No. 74-2, p. 49. On the early morning hours of May 6th, unknown

                             gangsters fired weapons at Rita’s business. Exhibit K, ¶12. According to the

                             testimony of City Police Chief Robert Ruth, a simple dispute (which he called

                             a “fight”) started at the Café, and the security hired by Mr. Pruitt1 removed

                             them from the Café. At that point, for whatever reason, members of a street

                             gang obtained weapons from their vehicles and started firing at the Café.

                             Chief Ruth testified the matter did not involve Johnson but rather “it’s got
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                             something to do with north side and south side, all gang related.” Exhibit G,
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                             p. 80. Johnson avers the dispute and the shooting had nothing to do with

                             her; she did not know it was going to happen, did not authorize the shooting,

                             and has no idea who did the shooting. Exhibit K, ¶¶12-14. To date, no one

                             has been convicted for the illegal discharge of firearms or other related

                             crimes as to the shooting against her building. Id., ¶28.

                                    Eighteen hours later, without notice or a hearing of any type, her

                             potable municipal water service was simply just shut off. Id., ¶¶10, 28.

                             Defendant Jason Cabello is the City water department field technician who



                                    1 Security was the responsibility of the birthday party host. Exhibit N, p. 2; see
                             also Johnson Dep, ECF No. 72-2, p. 48 (Q. Did the individual who hosted this event
                             have security? A. Yes.). Moreover, under Michigan law, a business owner is not
                             responsible for the unforeseeable criminal acts of third-parties. See Williams v.
                             Cunningham Drug Stores, Inc., 429 Mich. 495, 501 (1988) (duty of reasonable care does
                             not include providing armed, visible security guards to deter criminal acts of third parties).
                             The duty to provide police protection belongs with the City. Id.

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                             handles water shut offs, including the one at Johnson’s building. Exhibit H,

                             p. 7. Cabello acknowledges it was him who used what is known as the “t-

                             stick” device to end the water supply going into the building. Id., at 8-9. A

                             copy of the work order documenting the shutdown is attached as Exhibit F.

                             He also admits that he did not provide notice or a hearing to Johnson.

                             Exhibit H, p. 16, 24. Moreover, Cabello was never trained by the City of

                             Saginaw that notice and a hearing is required before he shuts off somebody’s
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                             water. Id., at 24. The termination of water services was done in a

                             backhanded way to shut down any use of Johnson’s building and causing
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                             unsanitary conditions. Exhibit K, ¶19.

                                    Despite his action, Cabello was not the one who made the decision to

                             turn off the water. Exhibit H, p. 37-38. Cabello testified he was directed to

                             turn off the water by his foreman, Joe Gough. Id., at 16-17. Gough, in turn,

                             testified that he was told to shut off the water by City Chief Inspector John

                             Stemple. Exhibit I, p. 5-6.2 Stemple gave no indication to Gough why

                             Stemple was ordering the water shut down. Id., at 7.




                                    2 Gough also confirmed that notice and hearing was not provided to Johnson.
                             Exhibit I, pp. 9-10. The lack of notice and hearing for water customers is “typical” for the
                             City and its employees. Id. Like Cabello, Gough confirmed he too was given no training
                             or education as to the requirements of needing to have notice or a hearing before shutting
                             off water. Id., at 10-11.

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                                   Gough also confirmed that notice and hearing was not provided to

                             Johnson. Exhibit I, pp. 9-10. The lack of notice and hearing for water

                             customers is “typical” for the City and its employees. Id. Like Cabello, Gough

                             confirmed he too was given no training or education as to the requirements

                             of needing to have notice or a hearing before shutting off water. Id., at 10-

                             11.

                                   At deposition, Stemple conceded the shut off decision was his. Exhibit
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                             J, p. 27; see also p. 25 (“I was the person that ordered the water off”). He

                             expressly conceded he “did not give any notice to Ms. Johnson about her
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                             water being terminated before or after the termination occurred.” Id., at 10

                             (emphasis added). Despite this concession, Stemple also tried to

                             unconvincingly assert that a hearing (but no notice) was offered to Johnson

                             to challenge water delivery at the same time a separate business suspension

                             hearing3, but that is just simply not true. Id., at 10. The Notice regarding the

                             business suspension hearing makes no mention of water or the shut off of

                             water. Exhibit L. Stemple admitted that when challenged. Exhibit J, pp. 5-

                             6; see also p. 10 (Stemple: “I think I've already stated that it [i.e. water is



                                   3  A related case, in which Johnson alleges that the City of Saginaw and certain
                             City employees violated her due process rights when they suspended her business
                             license, was filed in this Court on July 25, 2017. See Johnson v. Morales, et al, Case No.
                             1:17-cv-12405. That matter is awaiting decision by a panel of the United States Court of
                             Appeals for the Sixth Circuit.

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                             going to be terminated or can contest the termination of water services]

                             doesn’t exist in that document”). Moreover, at the hearing itself, the hearing

                             officer confirmed—

                                   It is my understanding that this show-cause administrative hearing that
                                   is set for today, May 11, 2017, at one o’clock p.m., is in regard to the
                                   issuance of the City of Saginaw a notice for the immediate suspension
                                   of business activity of Rita’s Southern Soul Cafe located at 110 North
                                   Washington, Saginaw, Michigan 48601. Further, the City has taken this
                                   action for the immediate suspension of business activity pursuant to
                                   the Saginaw Code of Ordinance Subsection 110.06(f).
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                             Exhibit G, pp. 5-6. He said nothing about potable water services termination.
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                             His decision after the hearing does not address or even makes mention of

                             water services termination either. Exhibit N. It was never part of or made

                             part of the proceedings by the City. Id., p. 2. Unsurprisingly, Saginaw Code

                             of Ordinance Subsection 110.06(f) has nothing to do with Saginaw’s water

                             delivery. See Exhibit C.

                                   When pressed, Stemple conceded he had no knowledge of any of the

                             shooters being employees or agents of Rita Johnson's business.” Exhibit J,

                             pp. 63. He actually further admitted he did not know who the shooters

                             actually were. Id., at 64. When asked of Stemple why he shut down the

                             water, he testified it was to generically “save lives,” but could not identify

                             whose lives he had saved by violating due process. Id., at 13. Stemple

                             further stated that he ordered the shut down on Johnson’s potable water due


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                             to “simply the fact that there were armed people shooting guns in the street.”

                             Exhibit J, p. 61. When asked what ordinance made it Johnson’s legal

                             responsibility to prevent third-party criminal acts, Stemple could not identify

                             any. Id., p. 61-62.

                                   Stemple was also questioned whether he had “ever shut off the water

                             to someone’s business because there was a shooting at the business, other

                             than Rita Johnson?” Stemple confirmed he had. Id., at 14. He confirmed it
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                             was “practice and policy” of the City to shut down water delivery without
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                             notices or a hearing. Id., at 22-24. He could identify at least four times

                             previously. Id., at 21. Moreover, when asked by what criteria he uses to

                             decide whether to terminate water services without due process, he could

                             not provide an objective or rational answer. Id., at 35-62. Lastly, when asked

                             if the “same exact events occurred that happened at Rita Johnson’s place

                             happened at a place right next door to it, same set of circumstances occurred

                             today, would you shut down the water again today,” Stemple answered “yes.”

                             Id., at 32. This lawsuit and this Court’s prior decision changed nothing about

                             the way Defendants handle due process for water service terminations. Id.




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                                   Next, he also suggested he had the power to shut down the water

                             delivery to Johnson’s building based on Section 112.3 of the Michigan

                             Building Code.4 That provision reads—

                                   The building official shall have the authority to authorize disconnection
                                   of utility service to the building, structure or system regulated by the
                                   code and the referenced codes and standards set forth in Section
                                   101.4 in case of emergency where necessary to eliminate an
                                   immediate hazard to life or property or when such utility connection has
                                   been made without the approval required by Section 112.1 or 112.2.
                                   The building official shall notify the serving utility, and whenever
                                   possible the owner or occupant of the building prior to taking such
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                                   action. If not notified prior to disconnecting, the owner or occupant of
                                   the building, structure or service system shall be notified in writing, as
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                                   soon as practical thereafter.

                             This provision is not applicable for several reasons. First, the Building Code

                             does not apply because no one is constructing a building and the issues of

                             May 6, 2017 have nothing to do with Johnson’s building. Second, there was

                             no emergency at 7:30p.m. on Saturday, May 6, the time of the water shut

                             off, and there separately was no “immediate hazard to life or property” either,

                             which was nearly a day after the third-party gangsters’ shooting into

                             Johnson’s building. Moreover, the provision is also not applicable because it

                             required Stemple to give notice to the “owner or occupant of the building prior

                             to taking” the action of terminating utility services. He failed to do so. Exhibit


                                   4 The Michigan Building Code is a state-based set of building construction
                             standards which can be enforced by local municipalities if they opt to do so by local
                             ordinance. Saginaw has done so. Exhibit J, p. 7.

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                             J, p. 10. Furthermore, while Section 112.3 does not call for a hearing of some

                             sort, federal law does. To the extent that Stemple would argue that a hearing

                             is not required premised on the language of Section 112.3, the application of

                             such a rule would be unconstitutional.

                                   Nearly five months of radio-silence passed without the restoration of

                             water services by any defendant; any notice of any sort of hearing to

                             challenge the discontinuation of water services; and without any opportunity
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                             or ability to end the discontinuation of water services. Exhibit K, ¶¶ 29, 30,
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                             32, 33. No defendant, at any time, provided any information about how to get

                             the water turned back on. Id., ¶32. Johnson personally met with city

                             employees while services were terminated and inquired why the City did not

                             resume water delivery service. Id., ¶34. They refused to resume water

                             delivery. Id.

                                   Johnson sued the City and the unknown water department employee

                             (who later was named as Defendant Cabello) on September 22, 2017 in state

                             court (see Notice of Removal, ECF No. 10) and concurrently filed a state

                             court motion for an ex parte order to show cause why the City should be

                             allowed to continue the shut off of water. Exhibit D. Before that motion was

                             decided by the state court judge, Defendants removed the case to this Court.

                             Notice of Removal, ECF No. 10. After removal, the undersigned began the


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                             process to renew motion in this Court and Defendants suddenly decided that

                             water services would be restored. Water services was restored in October

                             2017—early five months from the time of termination and only after an order

                             of this Court was being sought. Exhibit K, ¶¶34; see also Exhibit M.

                             Stemple was later added to the suit for his role in the termination of potable

                             water services. See Order, RE 38 (authorizing addition of Stemple).

                                                             ARGUMENT
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                                   Plaintiff has asserted two due process claims—one substantive and
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                             one procedural. Discovery has confirmed pled facts which supports and

                             proves Johnson’s case without any remaining material question of fact,

                             except as to damages. Summary judgment, except for damages, is

                             warranted.

                                                             Due Process

                                   The Fourteenth Amendment requires due process if state action is

                             going to deprive any person of life, liberty or property. U.S. Const., Am. 14,

                             § 1. It is enforceable via federal law. 42 U.S.C. §§ 1983, 1988. Courts have

                             analyzed Section 1983 enforcement actions based on deprivations of due

                             process as falling into two categories: violations of procedural due process

                             and violations of substantive due process. Mansfield Apartment Owners




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                             Ass’n v. City of Mansfield, 988 F.2d 1469, 1473-1474 (6th Cir. 1993). Both

                             are raised in this case.

                                                        Procedural Due Process

                                   Procedural due process requires that when the government seeks to

                             terminate a protected interest, it must, except in highly limited circumstances,

                             afford notice and opportunity for hearing appropriate to the nature of the case

                             before the termination becomes effective. E.g. Pittman v. CCDCFS, 640
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                             F.3d 716, 729 (6th Cir. 2011). As this Court correctly recited—

                                   “Generally, the process that is due before the state may deprive an
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                                   owner of property includes notice to the owner prior to the deprivation
                                   and an opportunity for a predeprivation hearing.” Harris v. City of
                                   Akron, 20 F.3d 1396, 1401 (6th Cir. 1994). See also Morrissey v.
                                   Brewer, 408 U.S. 471, 489 (1972) (holding that the “minimum
                                   requirements of due process” include both “written notice” and an
                                   “opportunity to be heard in person and to present witnesses and
                                   documentary evidence”).

                             Opinion, ECF No. 23, PageID #423. This is the correct standard. “[T]hose

                             deprivations carried out without due process are actionable under 42 U.S.C.

                             § 1983.” Harris, supra, at 1401. Procedural due process rules are meant to

                             protect persons from the mistaken or unjustified deprivation of life, liberty, or

                             property. Carey v. Piphus, 435 U.S. 247, 259 (1978). Both the Supreme

                             Court and the Sixth Circuit have indeed held that the due process clause

                             applies to termination of municipally-provided utility services. See, e.g.,

                             Memphis Light, Gas & Water Div. v. Craft, 436 U.S. 1, 11 (1978); Palmer v.

                                                                    11
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                             Columbia Gas of Ohio, Inc., 479 F.2d 153, 165 (6th Cir. 1973). “It is well

                             settled that the expectation of utility services rises to the level of a ‘legitimate

                             claim of entitlement’ encompassed in the category of property interests

                             protected by the due process clause.” Mansfield, supra, at 1474. Many

                             others have held the same, even prior to Memphis Light. See Limuel v.

                             Southern Union Gas Co, 378 F. Supp. 964 (W.D. Texas 1974) (collecting

                             cases). Johnson has properly proven this claim—a property right deprived
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                             without any notice or hearing whatsoever as to her potable water delivery
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                             services. Previously when Defendants asserted that access to and

                             continuation of utility services for one’s business-related activities is not a

                             constitutionally protected property interest, this Court held that to be “entirely

                             without merit.” Opinion, ECF No. 23, PageID #411.

                                   It is undisputed that Johnson received no notice of suspension of

                             potable water services. Exhibit K, ¶¶19, 21. This violates due process.

                             Harris, supra, at 1401; Pittman, supra, at 729. Johnson also received no

                             hearing or otherwise any opportunity for a predeprivation hearing appropriate

                             to the nature of the case. Id.; Exhibit K, ¶¶21-22. In many instances, the

                             typical question is what amount of process (i.e. what level of hearing) is due.

                             In most cases, the government has provided some form of process but the

                             challenger is asserting it is of an insufficient amount or character. The


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                             applicable test to review that question was provided by Mathews v. Eldridge,

                             424 U.S. 319 (1976).

                                   However, we do not need to actually undertake the Mathews analysis

                             for two reasons. First, the Supreme Court has already explained, in this

                             context of municipal utility services, that the due process requires (i) notice

                             informing the customer not only of [1.] the possibility of termination but also

                             [2.] of a procedure for challenging and (ii) an established procedure for
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                             resolution of disputes or some specified avenue of relief for customers who
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                             dispute the existence of the liability. Memphis Light, supra, at 12. So, we

                             know what process is due vis-à-vis Memphis Light; we do not need to

                             reinvent the wheel. And second, Defendants in this case provided no notice

                             or hearing of any type, let alone some or enough to even begin to attempt to

                             argue that they might have met the Memphis Light standard. Zero notice and

                             hearings fails to satisfy Memphis Light. As such, this Court need not go

                             through the difficult task of determining what is the needed process but can

                             instead conclude, as a matter of law, that because no notice or process was

                             provided, it per se violated due process in both ways.

                                   As such, Johnson is entitled to summary judgment on her procedural

                             due process claim, and it leaves the only question as to the amount of




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                             damages, including punitive damages, and other remedies to be awarded to

                             Johnson.

                                                           Substantive Due Process

                                    Additionally, Defendants also violated substantive due process.

                             Johnson contends that Defendants’ unilateral decision and actions to end

                             her water services was arbitrary and capricious and should shock the

                             conscience of the Court, which frames as a claim for violation of her
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                             substantive due process rights. To state a substantive due-process claim

                             regarding property, a plaintiff needs to show “that (1) a constitutionally
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                             protected property… interest exists, and (2) the constitutionally protected

                             interest has been deprived through arbitrary and capricious action.” Braun v.

                             Ann Arbor Charter Twp., 519 F.3d 564, 573 (6th Cir. 2008). This Court has

                             directed the parties to a zoning case, Pearson v. City of Grand Blanc, 961

                             F.2d 1211 (6th Cir. 1992), as providing the applicable framework.5

                                    Pearson first explains that “[t]he doctrine that governmental

                             deprivations of… property are subject to limitations regardless of the

                             adequacy of the procedures employed has come to be known as substantive

                             due process.” Pearson, supra, at 1216. It is also been explained as being a



                                    5 And because delivery of water is an existing property right, it may not be arbitrarily
                             cut off water—depriving property—without a legal basis in doing so.

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                             constitutional protection against “egregious abuse of governmental

                             power.” Cale v. Johnson, 861 F.2d 943, 949 (6th Cir. 1988). After giving

                             various examples, Pearson teaches that “[t]he right not to be subject to

                             ‘arbitrary or capricious’ action by… administrative action” fits as a

                             “substantive due process right.” Pearson, supra, at 1217. Due process is

                             violated when an administrative action “is not supportable on any rational

                             basis” or is “willful and unreasoning action, without consideration and in
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                             disregard of the facts or circumstances of the case.” Id., at 1222.6 Moreover,
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                             a Michigan city and its officials have no inherent or automatic legal authority

                             to act under Michigan law. In Michigan, cities like Saginaw only “have the

                             limited powers ‘expressly conferred upon them by the Constitution of the

                             State of Michigan, by acts of the Legislature, or necessarily implied

                             therefrom.’” Crain v. Gibson, 73 Mich. App. 192, 200 (1977), citing Alan v.

                             Wayne Co, 388 Mich. 210 (1972). Defendants have cited no state law which

                             provides or empowers them the inherent authority to immediately shut off of

                             water when they, acting in an executive capacity, self-decide it is in the City’s

                             interest to do so. Moreover, the City of Saginaw, by ordinance, has not given




                                    6
                                    Challenges on administrative action is less deferential than for legislature action.
                             Pearson, supra, at 1223.

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                             its employees and officials the power to act in such a totalitarian manner

                             either.

                                   This Court has already concluded that “Johnson has a constitutionally

                             protected property interest in the continuation of water services for her

                             business.” Opinion, ECF No. 23, PageID #412. Next, Defendants, and

                             particularly Stemple, did not have any state law, local ordinance, or rational

                             basis for terminating the delivery of water, and moreover, such action was
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                             willful and unreasoning action. And as this Court correctly previously opined,

                             there is no reason why public safety demanded both that Johnson’s business
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                             license be suspended and her water services terminated. Even assuming

                             arguendo that the public safety purpose was to prevent another shooting, it

                             is patently unreasonable action to claim the termination of water would

                             prevent a further gangster shooting. Gang-land shootings are not drawn to

                             the existence of running potable water via the City’s utility services. The

                             termination of water serves was not a rational act but one more akin to

                             retaliation for causing embarrassment to the City’s regentrification of the

                             downtown area.

                                   Moreover, Defendants lack any legal authority to take such action. The

                             City Water Code does not provide any defendant the authority (whether by

                             the Ordinance or City Manager made rules) to terminate water services for


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                             third-party gangster shootings which are not the actions or responsibility of

                             Johnson. Opinion, ECF No. 23, PageID #412-414. Moreover, any

                             suggested that the business licensing section, § 110.06 of the City Code,

                             provides authority is meritless. That section is simply inapplicable here

                             because Johnson is not required to obtain a license or permit before

                             receiving or continuing to receive water services. As this Court also correctly

                             noted previously, § 52.11 of the City Code (Exhibit B) requires the City to
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                             provide water services as long as the fees are paid and the water connection

                             is “determined to be safe and adequate by the City Engineer.” Opinion, ECF
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                             No. 23, PageID #415. As such, the City’s ordinances do not authorize the

                             action undertaken by Defendants.

                                   It is also expected that Defendants may argue that Section 112.3 of

                             the Michigan Building Code authorized the termination of water services “in

                             case of emergency where necessary to eliminate an immediate hazard to life

                             or property or when such utility connection has been made without the

                             approval required by Section 112.1 or 112.2.”7 The Michigan Building Code

                             is only for building construction matters, not general business operations.

                             But even by the language (which is putting a square peg in a round hole),



                                   7 The without-the-approval-required theory under Section 112.3 is easily
                             dispensed with—it is not applicable.

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                             Defendants would need to show that at 7:30p.m. on May 6, 2017 there was

                             1.) an emergency and 2.) an immediate hazard to life or property needing

                             elimination. This is not possible. At the time the water was terminated, there

                             was no emergency and there was no eliminate any immediate hazard to life

                             or property due to the lack of any hazard. When Cabello used his “t-stick” to

                             shut off water, it was at 7:30p.m. on May 6, 2017. Johnson’s affidavit

                             confirms there was no emergency; the Café was already closed. In addition,
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                             there was no immediate hazard to life or property type emergency, as
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                             anything related the third-party gang shooting had passed more than 18

                             hours earlier.

                                   The timeline here undercuts any claim of emergency. The gangster

                             shooting (which Johnson and her business had no part of) occurred in the

                             early, early morning hours of May 6, 201.8 Gough testified that Stemple

                             called him in “the evening” which means it had to be, at earliest, nearly 16 to

                             17 hours later on the evening of Saturday, May 6. Exhibit I, p. 6. Gough

                             dispatched Cabello who turned off the water at 7:30p.m. that same Saturday

                             night.9 Exhibit I, p. 13. That is approximately 18 hours after the gangsters



                                   8  The Work Order is not precise of when certain actions/decisions were ordered
                             because these are entered into the computer on the Monday following any work being
                             done over the weekend. Exhibit H, p. 14.
                                    9 Cabello confirmed it was Saturday, May 6 and the Work Order’s notes section

                             confirms it was at approximately 7:30p.m. Exhibit H, p. 14; Exhibit F.

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                             fled after the shooting. The private event booked for her Café on Saturday

                             night was cancelled due to the damage to the windows. Exhibit K, ¶27.

                             Being such, there was no one at the Café at 7:30p.m. and thusly no

                             emergency or potential of one needing to “eliminate an immediate hazard to

                             life or property” under Section 112.3. The affidavit of Johnson confirms there

                             was no hazard to life or property on that Saturday evening. Id., ¶¶26-27.

                             Therefore, Section 112.3 does not authorize Defendants’ actions, either
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                             collectively or individually, for lack of an emergency and for the lack of hazard

                             to life or property needing “immediate” elimination.
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                                    In short, Johnson’s substantive due process rights were violated by

                             terminating water services which “is not supportable on any rational basis”

                             or is “willful and unreasoning action, without consideration and in disregard

                             of the facts or circumstances of the case.” Summary judgment is warranted.

                                                                        Monell

                                    A constitutional claim against a municipality10 under § 1983 must be

                             based on its own conduct. Monell, supra, at 691. Thus, in an official-capacity

                             suit, the entity’s policy or custom, and not just their employee’s singular acts,



                                    10 In an official-capacity claim, the relief sought is only nominally against the official
                             and, in fact, is against the official’s office and thus the government entity itself. Lewis v.
                             Clarke, 137 S. Ct. 1285, 1292 (2017) (citations omitted). This Court ordered official
                             capacity claims to be merged with the claims against the City of Saginaw directly. Order,
                             ECF No. 38, PageID #663.

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                             must have played a part in the violation of federal law. See Monell v. New

                             York City Dept. of Social Services, 436 U.S. 658 (1978). To meet the Monell

                             standard, a civil rights plaintiff uses at least one of four methods to establish

                             municipal liability: 1.) an officially adopted or promulgated policy, or

                             legislative enactment; 2.) a custom or practice that is not written or formally

                             adopted, but that is a pervasive, long standing practice that has the force of

                             law; 3.) a failure to train, supervise, discipline, or adequately screen; and/or
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                             4.) point to a particular decision or act made by someone who is asserted to
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                             be a final policymaker for the entity. Thomas v. City of Chattanooga, 398

                             F.3d 426, 429 (6th Cir. 2005).

                                   The governmental custom can meet the Monell standard when a

                             custom or practice exists but has not received formal approval through the

                             body’s official decision-making channels. Shamaeizadeh v. Cunigan, 338

                             F.3d 535, 556 (6th Cir. 2003). However, custom or usage has the force of

                             law as a “widespread practice” when “duration and frequency of the practices

                             warrants a finding of either actual or constructive knowledge by the

                             policymaker with responsibility for oversight that the practices have become

                             customary among its employees.” Spell v. McDaniel, 824 F.2d 1380, 1387

                             (4th Cir. 1987).




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                                   Here, Stemple concedes that termination water services without due

                             process is “practice and policy” of the City. Exhibit J, p. 22-24. Moreover, it

                             has regularly occurred—at least four times acknowledged by Stemple. Id.,

                             at 21. Gough acknowledges notices or hearings never happen. Exhibit I,

                             pp. 9-10 (“just typical and normal” that there’s no hearing or no notice when

                             the City shuts off the water). Moreover, the City has conceded in its recent

                             court filing that water shut offs without due process have happened to “over
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                             a dozen businesses” and is a “past practice.” Brief, RE 74, PageID #1284.
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                             This all meets Monell.

                                   In the alternative, Monell also imposes liability on its failure to train.

                             “[E]vidence pointing to a City’s failure to provide any training on key duties

                             with direct impact on the constitutional rights of citizens” meets Monell on a

                             failure to train theory. Gregory v. City of Louisville, 444 F.3d 725, 754 (6th

                             Cir. 2006) (emphasis added). It has been well-established since the 1970s

                             that termination of utility services is protected by due process and the

                             character of the process that is due. Memphis Light, supra; Palmer, supra.

                                   All three City individuals involved with the termination of water services

                             without due process testified that the City has completely failed to provide

                             proper training about due process. Exhibit H, p. 24 (Cabello); Exhibit I, pp.

                             10-11 (Gough); Exhibit J, p. 11 (Stemple). In a recent filing, the City has


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                             expressly conceded neither Stemple nor Cabello were trained at all. Brief,

                             ECF No. 74, PageID #1292-1293. The Monell standard is again met.

                                                              Damages

                                   By this motion, Johnson is reserving the issue of damages (and all

                             other remedies). However, there are a few points to make as to this posture.

                             First, violations of constitutional rights are redressed with, at minimum,

                             nominal damage awards. Midwest Media Property, L.L.C. v. Symmes Twp.,
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                             503 F.3d 456, 481 (6th Cir. 2007); see also Carey v. Piphus, 435 U.S. 247,
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                             259 (1978). Punitive damages are also going to be sought against the two

                             individual defendants, but especially Stemple. Section 1983 authorizes the

                             award of punitive damages against officials in their individual capacity when

                             the defendant’s conduct “involves reckless or callous indifference to the

                             federally protected rights of others.” Smith v. Wade, 461 U.S. 30, 56 (1983);

                             see also Exhibit J, p. 32 (Q. “Assuming the same exact events occurred that

                             happened at Rita Johnson’s place happened at a place right next door to it,

                             same set of circumstances occurred today, would you shut down the water

                             again today?” Stemple: “Yes”). Violations of due process can be awarded

                             punitive damages, and may be awarded even when suffering only nominal

                             damages from a deprivation of federal rights. See, e.g., White v. McKinley,

                             605 F.3d 525 (8th Cir. 2010); Washington v. Kirksey, 811 F.2d 561 (11th Cir.


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                             1987); Busche v. Burkee, 649 F.2d 509 (7th Cir. 1981); Hardeman v. City of

                             Albuquerque, 377 F.3d 1106 (10th Cir. 2004); see also Romanski v. Detroit

                             Entertainment, L.L.C., 428 F.3d 629 (6th Cir. 2005).

                                                        RELIEF REQUESTED
                                   WHEREFORE, Plaintiff RITA R. JOHNSON, by counsel, respectfully

                             requests this Court to grant her summary judgment on both counts, leaving

                             the issue of damages for resolution by the Johnson jury and all other

                             remedies for further resolution.
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                              Date: November 21, 2017               RESPECTFULLY SUBMITTED:
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                                                     CERTIFICATE OF SERVICE

                                   I, the undersigned attorney of record, hereby certify that on the date

                             stated below, I electronically filed the foregoing with the Clerk of the Court

                             using the ECF system which will send notification of such filing to all counsel

                             or parties of record.

                              Date: November 21, 2018               RESPECTFULLY SUBMITTED:

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